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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND

DONNA L. WHITAKER

Plaintiff,

V.                                                     CIVIL ACTION NO
                                                       8:14-cv-02991-PWG



LAW ENFORCMENT SYSTEMS, LLC


Defendant.                                             March 12, 2015

                            NOTICE OF DISSMISSAL

The plaintiff through her attorney Bernard T. Kennedy stipulates that the claims in

the above-entitled action shall be dismissed with prejudice and without costs,

subject to approval of the Court.



                                                THE PLAINTIFF
                                                BY/S/Bernard T. Kennedy
                                                 Bernard T. Kennedy, Esquire
                                                 The Kennedy Law Firm
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                                  CERTIFICATION

I hereby certify that on 3/12/15 a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated
on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.



BY/S/Bernard T. Kennedy
